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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

Alexandria Division

UNITED STATES OF AMERICA
V.
ALEXANDA AMON KOTEY,
and
EL SHAFEE ELSHEIKH,

Defendants.

 

 

 

 

 

 

 

 

 

 

 

UNDER SEAL
Criminal No. 1:20-CR-239 | CLERK US. DISTRICT COURT
COUNT ONE:

Conspiracy to Commit Hostage Taking Resulting in Death
18 U.S.C. § 1203

COUNTS Two — FIVE:

Hostage Taking Resulting in Death
18 U.S.C. §§ 1203 and 2

COUNT SIX:
Conspiracy to Murder United States Citizens Outside of
the United States
18 U.S.C. § 2332(b)(2)

COUNT SEVEN:
Conspiracy to Provide Material Support to Terrorists —
Hostage Taking and Murder — Resulting in Death
18 U.S.C. § 2339A

COUNT EIGHT:
Conspiracy to Provide Material Support to a Designated
Foreign Terrorist Organization Resulting in Death
18 U.S.C. § 2339B

INDICTMENT

THE GRAND JURY CHARGES THAT:

GENERAL ALLEGATIONS

At all times material to this indictment:
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The Defendants and Co-Conspirators

l. The defendant, ALEXANDA AMON KOTEY (“KOTEY’”), is a former British
citizen born in London, England, in 1983. He is a Specially Designated Global Terrorist.

2 The defendant, EL SHAFEE ELSHEIKH (“ELSHEIKH”), is a former British
citizen born in the Republic of Sudan in 1988. ELSHEIKH relocated to London, England, as a
child with his family. United Kingdom records identify variations of the spelling of
ELSHEIKH’s name, including “Elshafee El Sheikh.” He is a Specially Designated Global
Terrorist.

cf KOTEY and ELSHEIKH were leading participants in a brutal hostage-taking
scheme targeting American and European citizens, and others, from 2012 to 2015. During the
conspiracy described below, KOTEY and ELSHEIKH engaged in a prolonged pattern of
physical and psychological violence against the hostages. KOTEY and ELSHEIKH were also
fighters for the Islamic State of Iraq and al-Sham (“ISIS”), a group the United States Secretary of
State has designated a Foreign Terrorist Organization. KOTEY and ELSHEIKH were captured
together on or about January 4, 2018, by the Syrian Democratic Forces as they attempted to
escape Syria for Turkey.

4. Before they traveled to Syria, KOTEY and ELSHEIKH were radicalized in
London. For example, on September 11, 2011, KOTEY and ELSHEIKH participated in, and
were arrested during, a Muslims Against Crusades demonstration outside of the U.S. Embassy in
London in support of the September 11, 2001 terrorist attacks against the United States.

5: KOTEY and Mohamed Emwazi departed London together on or about August 29,

2012, en route to Syria in order to wage violent jihad on behalf of radical Islamic groups.
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6. ELSHEIKH departed London on or about April 30, 2012, to wage violent jihad
on behalf of radical Islamic groups, entering Syria across the Turkish border on or about May 1,
2012. ELSHEIKH purchased a fully automatic AK-47 assault rifle when he arrived in Syria and
learned how to use it as a fighter for Al-Nusrah Front (another designated foreign terrorist
organization) and, subsequently, ISIS. ELSHEIKH owned numerous weapons over time as an
ISIS fighter, including a fully automatic M4 rifle, an M16 rifle, a Glock 19 Gen 3, and numerous
grenades,

4, On or about July 25, 2014, ELSHEIKH described to a family member his
participation in an attack conducted by ISIS on the headquarters of the 17th Division of the
Syrian Army in Raqqa, Syria. In a voice-recorded message, ELSHEIKH explained to a family
member that “the brothers” have engaged in combat with the Syrian Army, and “the brothers”
brought back heads to the city. ELSHEIKH further explained in a voice-recorded message,
“there’s many heads, this is just a couple that I took a photo of,” and the roundabout in the area is
“just full of heads and bodies,” all praise be to Allah. Also on July 25, 2014, ELSHEIKH sent a
family member images of what appear to be decapitated heads of Syrian Army soldiers in Raqqa,
Syria.

8. Mohamed Emwazi (“Emwazi”) was a British citizen born in Kuwait in 1988.
Emwazi was a Specially Designated Global Terrorist. Emwazi and KOTEY traveled together to
Syria on or about August 29, 2012. Emwazi worked closely with KOTEY and ELSHEIKH
within the hostage-taking scheme. Among other cruel and inhumane conduct, Emwazi beheaded
American, British, and Japanese citizens. Videos of these murders were recorded, produced, and
distributed by ISIS’s al-Furqan Foundation for Media Production to further ISIS’s terrorist

propaganda campaign against the United States and its allies. KOTEY and ELSHEIKH

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considered Emwazi to be a trustworthy and upstanding person. Emwazi was killed in a United
States military airstrike conducted on or about November 12, 2015, in Syria.

9. Co-Conspirator-1 (“CC-1”) is a British citizen who is currently incarcerated in
Turkey following CC-1’s conviction on a terrorism-related offense there.

10. Abu Bakr al-Baghdadi was born in Samarra, Iraq, in 1971. Baghdadi was the
self-proclaimed leader of ISIS until his death as a result of a United States military operation in
Syria on or about October 26, 2019. Baghdadi developed a following committed to the
systematic abuse of human rights, including targeting and indiscriminate killing of innocent
civilians, initiating mass executions and persecuting individuals and religious and ethnic
communities on the basis of their identities and religious affiliations, kidnapping of innocent
civilians, and rape and other forms of sexual abuse and violence. Beginning in or about October
2014, Baghdadi sexually abused Kayla Jean Mueller by forcing her to engage in sexual
intercourse with him against her will while she was held captive in Syria.

Il, Abu Muhammad al-Adnani was born in western Syria in 1977. Adnani was a
leading commander of ISIS and served as its chief media spokesman responsible for the
dissemination of official ISIS messages. Adnani reported directly to Baghdadi. Adnani was
killed in a United States military airstrike on or about August 30, 2016. KOTEY, ELSHEIKH,
and Emwazi worked closely with Adnani and met repeatedly with him concerning the hostage-
taking scheme and other matters. On or about September 22, 2014, Adnani released a statement
(“Indeed, Your Lord is Ever Watchful”) through ISIS’s media and propaganda operation
attacking America and other opponents of ISIS, stating that the organization intended to

“conquer your Rome, break your crosses and enslave your women.” The Adnani statement laid
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bare the criminal foundation of the terrorist organization and its members publicly adhered to the
following purposes:

e “[Y]ou have realized the threat of the Islamic State.”

e “[I]f you can kill a disbelieving American or European . . . including the citizens
of the countries that entered into a coalition against the Islamic State, then rely
upon Allah, and kill him.”

e “[K]ill the disbeliever whether he is civilian or military.”

The Foreign Terrorist Organization — ISIS

12. ISIS at all relevant times was designated by the United States Secretary of State as
a Foreign Terrorist Organization (FTO). Members of the terrorist organization who carry out the
criminal acts and acts of terror, such as hostage taking and murder, are called fighters (also
referred to as “FTO fighters”) herein. KOTEY, ELSHEIKH, and Emwazi were fighters within
ISIS and acted as co-conspirators, along with other FTO fighters, in the terrorist organization.
KOTEY and ELSHEIKH knew and understood that their roles as FTO fighters and leaders
within the hostage-taking scheme involved executions and extreme acts of violence.

13. Since 2013, ISIS has claimed credit for numerous terrorist activities, including
seizing Mosul, a city in northern Iraq; launching rocket attacks on eastern Lebanon in March
2014; the November 2015 terrorist attacks in Paris, France; and the March 2016 suicide
bombings in Brussels, Belgium, among many others. ISIS has also claimed responsibility for
murdering, by beheading, civilians and non-combatants from the United States, Great Britain,
and Japan, among others, and has murdered dozens of people at a time, carried out public

executions, and committed other brutal terrorist acts.
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14. ISIS’s leadership sought to accomplish its criminal goals, in part, by recruiting
and accepting new members from across the globe, including the United States, the United
Kingdom, and the European Union, to assist with its efforts to expand its so-called “Caliphate”
in Iraq, Syria, and other locations in Africa and the Middle East. “Caliphate” was a term used to
refer to ISIS’s self-proclaimed system of religious governance, with Abu Bakr al-Baghdadi
serving as the “Caliphate’s” self-proclaimed leader until his death. Adnani announced the
establishment of the Islamic State “Caliphate” on or about June 29, 2014, in an audio recording
(“This is the Promise of Allah”) distributed by the ISIS media operation.

15. Baghdadi led ISIS during all the material events set forth in this Indictment.
Baghdadi rarely spoke in public. However, on or about July 5, 2014, at a mosque in Iraq,
Baghdadi declared himself the caliph, or leader, of the newly declared “Caliphate.” The speech
was video-recorded and distributed by the ISIS media operation. The objective of the terrorist
organization was the forcible acquisition of land for the stated goal of creating an Islamic State
without recognizing any national boundaries. ISIS has sought to accomplish its goals through
the commission of various criminal acts and acts of terror against the United States and
throughout the world. The criminal acts committed by members of the terrorist organization
include murder, kidnapping, hostage taking, and more.

The Hostage-Taking Scheme

16. The criminal conspiracy existed to further the political goals of terrorism by
inflicting extreme pain, suffering, and cruelty, including death, on American citizens and
nationals of other countries in order to compel the United States and governments of other

countries to take specific action, or abstain from taking action, and to retaliate against those
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governments. To execute those goals and further its purposes, the co-conspirators engaged in

various acts, including:

17.

a. kidnapping and torturing American citizens and nationals of other countries, as

well as engaging in murders with a goal of coercing, intimidating, or retaliating
against the United States government or its civilian population, or its allies;
unjustly enriching terrorists through the abduction, detention, and violent
treatment of United States citizens and others and by demanding money (i.e.,
ransom) for the return of the United States’ citizens and others; and

deploying a general propaganda campaign to further their terrorist goals through
the use of a sophisticated and coordinated media operation designed to advance
these goals.

Between on or about November 22, 2012, and continuing to in or about February

2015, KOTEY, ELSHEIKH, Emwazi, and other FTO fighters committed various acts inflicting

pain, suffering, cruelty and mistreatment on American, British, European, and other hostages at

various times throughout the hostages’ captivity, including:

Murders;

Forced witnessing of murders;

Mock executions;

Shocks to the torso and extremities with an electric taser;

Forced “rumbles” where all hostages were placed in a room and forced to fight
one another;

Headlocks and chokeholds causing black-outs;

Beatings with punches or sticks lasting up to 20 minutes per hostage;

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h. Use of stress positions such as standing for an entire day and night, sometimes for
several days at a time;

i. Physically restrained with handcuffs or zip ties behind the back in the evening, in
the front during the day, or used for restraining hostages in stress positions;

j. Waterboarding and threats of waterboarding;

k. Movements in locked trunks of vehicles:

|. Food deprivation; and

m. Denial of bathroom access.

18. On or about November 22, 2012, KOTEY, ELSHEIKH, Emwazi and other FTO
fighters forcibly seized and detained United States (U.S.) citizen James Wright Foley and United
Kingdom (U.K.) Citizen-1 in Syria.

19. On or about March 12, 2013, KOTEY, ELSHEIKH, Emwazi and other FTO
fighters forcibly seized and detained an Italian citizen and U.K. citizen David Haines and
transported them to a detention facility in Syria where James Wright Foley and U.K. Citizen-1
were detained.

20. On or about May 17, 2013, FTO fighters forcibly seized and detained a Danish
citizen in Syria.

21. On or about June 1, 2013, FTO fighters forcibly seized and detained a German
citizen in Syria.

22. On or about June 6, 2013, FTO fighters forcibly seized and detained French
Citizen-1 and French Citizen-2 in Syria.

23. On or about June 22, 2013, FTO fighters forcibly seized and detained French

Citizen-3 and French Citizen-4 in Syria.
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24.  Onor about July 27, 2013, FTO fighters moved James Wright Foley, U.K.
Citizen-1, the Italian citizen, and David Haines to a detention facility in a converted hospital near
Aleppo, Syria.

25. On or about July 31, 2013, FTO fighters moved the Danish citizen to the
detention facility in the converted hospital near Aleppo, Syria.

26. Onorabout August 4, 2013, FTO fighters forcibly seized and detained American
citizen Kayla Jean Mueller in Syria.

27. On or about August 4, 2013, the FTO fighters who captured Kayla Jean Mueller
made statements about their desire to create an Islamic State in Syria.

28. On or about August 4, 2013, FTO fighters moved Kayla Jean Mueller to a
detention facility with James Wright Foley, U.K. Citizen-1, David Haines, the Italian citizen, the
Danish citizen, and other hostages in the converted hospital near Aleppo. Ms. Mueller was kept
separated from the male hostages in an isolated cell for long periods of time.

29. Onor about August 4, 2013, FTO fighters forcibly seized and detained American
citizen Steven Joel Sotloff in Syria.

30. Onor about August 9, 2013, FTO fighters moved Steven Joel Sotloff to the
detention facility at the converted hospital near Aleppo with James Wright Foley and other
hostages, including the Italian and Danish citizens. Kayla Jean Mueller remained at this facility
in a different cell.

31. On or about August 26, 2013, FTO fighters moved the Italian citizen, the Danish
citizen, Kayla Jean Mueller, James Wright Foley, Steven Joel Sotloff, and other hostages to a

prison in Sheikh Najjar, Syria, known to the hostages as the “dungeon.”
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32. Onorabout August 27, 2013, FTO fighters distributed a proof-of-life video of
Kayla Jean Mueller.

a3. On or about September 4, 2013, FTO fighters forcibly seized and detained
Spanish Citizen-1 in Syria.

34. On or about September 16, 2013, FTO fighters forcibly seized and detained
Spanish Citizen-2 and Spanish Citizen-3 in Syria.

35. Onor about October 2, 2013, FTO fighters forcibly seized and detained American
citizen Peter Edward Kassig in Syria.

36. On or about October 13, 2013, FTO fighters forcibly seized and detained a New
Zealand citizen in Syria.

37. | Onor about October 24, 2013, FTO fighters forcibly seized and detained a
Russian citizen in Syria.

38. | Throughout the captivity of the American hostages and others, KOTEY,
ELSHEIKH, and Emwazi supervised detention facilities holding hostages and were responsible
for transferring hostages between detention facilities, in addition to engaging in a prolonged
pattern of physical and psychological violence against hostages.

39. Beginning on or about November 26, 2013, and continuing to in or around
February 2015, KOTEY and ELSHEIKH coordinated the Western-hostage ransom negotiations
conducted by email. KOTEY and ELSHEIKH knew and understood that the release of
American and other hostages was conditioned on the transfer of large sums of money or
concessions from the U.S. government, such as the release of “Muslim prisoners.” The email
communications to the families of the American victims were written with clear English using

British phrases and idioms, as well as other phrases and language used by KOTEY and

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ELSHEIKH. Because of their English accents and their history together in London, the hostages
often referred to KOTEY, ELSHEIKH, Emwazi, and CC-1 as “The Beatles.”

40. On December 2, 2013, the family of James Wright Foley received an email
stating, in part, “James Wright Foley is being detained by us . . . . James was detained whilst
operating as a ‘Journalist.’ Our Muslim prisoners are extremely valuable to us for verily those
who are honored most... .” In a December 27, 2013, email demanding 100,000,000 euros for
the release of James Wright Foley, the captors taunted the Foley family, stating the U.S
government treated the Foleys “like worthless insects.”

41. | Onor about December 4, 2013, the family of Steven Joel Sotloff received an
email demanding, “in return for Stevens [sic] release the release of all of our Muslim prisoners
that have been detained directly or indirectly by your government.”

42. On or about February 9, 2014, the family of Peter Edward Kassig received an
email demanding that the U.S. government release “our Muslims prisoners in exchange for
Peter.” The demand email stated, in part, “Peter was acting as a“ MEDIC’ when captured. We
have no doubt that these ‘MEDIC’s’ are nothing but another front in the battles between the
Muslims and the imperial west and its allies... .” The email demand continued, “[I]ndeed they
[medics] travel all over the world, mainly to Muslim conflict regions such as Iraq, Syria,
Lebanon and other similar countries secretly secularizing and democratizing the poor and
displaced Muslim populations whilst offering material gain to those who adopt their ideologies
and principles... . [W]e adopt a strict policy of ‘an eye for an eye, A tooth for a tooth’ giving
the enemies of Islam a drink from their own bitter cup.”

43. On or about April 25, 2014, KOTEY, ELSHEIKH, and Emwazi forcibly moved

the Italian, Danish, and German citizens, along with two other European humanitarian aid

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workers, to an isolated area approximately two miles from their prison to witness the execution
of a Syrian prisoner. KOTEY and ELSHEIKH knew and understood this execution was part of
the hostage negotiation process. Emwazi executed the Syrian prisoner by shooting him in the
back of the head and then numerous times in the torso as and when he fell into a grave. KOTEY
instructed the hostages to kneel at the side of the grave and witness the execution while holding
handmade signs pleading for their release. ELSHEIKH videotaped the execution of the Syrian
hostage. After the execution, KOTEY, ELSHEIKH, and Emwazi returned the European
hostages to the prison with ELSHEIKH telling one hostage, “You're next, [First name].”

44, On or about May 29, 2014, the family of Kayla Jean Mueller received an email
demanding the release of Afia Siddiqui or a cash payment of five million euros for Ms. Mueller’s
release. Kayla Jean Mueller’s captors forced her to make an audio recording, which the captors
attached to the May 29, 2014, email to the Mueller family, repeating the demands for Siddiqui’s
release or a cash payment of five million euros for Ms. Mueller’s release. In 2010, Siddiqui was
convicted in the United States for the attempted murder and assault of U.S. nationals and U.S.
officers and employees in Afghanistan, and sentenced to serve a lengthy period of incarceration.
The demand was repeated in a June 3, 2014, email in which the captors stated, “The objectives
are clear: the release of Dr. Afia Siddiqui in exchange for Kaya Mueller is our MAIN demand . .
. . If however, you have fully given up all hope of an exchange, We will accept NOTHING LESS
THAN 5 MILLION EUROS CASH for the release of Kayla! ... . This is NON-NEGOTIABLE
as it is more beloved to us to put a bullet in her head than release her for ANYTHNG LESS!!”

ISIS’s Media and Propaganda Operation

45. ISIS created a sophisticated and coordinated media operation to advance its

terrorist and propaganda goals. The media center operated primarily through the al-Furqan

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Foundation for Media Production (“al-Furqan”’) and the al-Hayat Media Center (“al-Hayat”).
Al-Furqan produced and distributed violent videos and recordings, including the videos depicting
Emwazi beheading American, British, and Japanese citizens. Al-Furqan also produced and
distributed videos of ISIS leadership, including Baghdadi and Adnani promoting the creation of
an Islamic caliphate and attacking America and its allies. Al-Hayat produced Dabigq, an online
magazine promoting the violent steps ISIS undertook to further the reach of its so-called
“Caliphate.”

46. On or about June 29, 2014, al-Furqan released “This Is the Promise of Allah,” an
audio recording in which Adnani declares the Islamic State a “Caliphate.”

47. On or about July 4, 2014, al-Furqan released a video of Baghdadi ascending a
pulpit of a mosque in Iraq for his introductory statement as the leader of the newly declared
“Caliphate.”

48. On or about August 19, 2014, al-Furqan released “A Message to America,” a
video depicting Emwazi beheading American citizen and hostage James Wright Foley. At the
conclusion of the video, Steven Joel Sotloff was forced to kneel before Emwazi while his life
was threatened.

49. Onor about September 2, 2014, al-Furqan released ““A Second Message to
America,” a video depicting Emwazi beheading American citizen and hostage Steven Joel
Sotloff. At the conclusion of the video, British citizen David Haines was forced to kneel before
Emwazi while Emwazi threatened his life.

50. | Onor about September 10, 2014, al-Hayat released “A Call to Hijrah,” an issue of
Dabig depicting a photograph of Emwazi killing American citizen and hostage James Wright

Foley. This issue of Dabig also has a photo of Steven Joel Sotloff kneeling before Emwazi.

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S15 On or about September 13, 2014, al-Furqan released “A Message to the Allies of
America,” a video depicting Emwazi beheading British citizen David Haines. At the conclusion
of the video, British citizen Alan Henning was forced to kneel before Emwazi while Emwazi
threatened his life.

52. On or about September 22, 2014, al-Furqan released “Indeed, Your Lord Is Ever
Watchful,” a recording in which Adnani threatened America and stated that the Islamic State
intended to “enslave your women.”

53. On or about October 3, 2014, al-Furqan released “Another Message to America
and its Allies,” a video depicting Emwazi beheading British citizen Alan Henning. American
citizen Peter Edward Kassig is forced to kneel before Emwazi at the conclusion of the video as
Emwazi exclaims, “It’s only right that we continue to strike at the necks of your people.”

54. On or about October 11, 2014, al-Hayat released “The Failed Crusade,” an issue
of Dabig depicting a photograph of American citizen Steven Joel Sotloff's murdered, decapitated
body. This issue of Dabig also published the text of Adnani’s “Indeed, Your Lord Is Ever
Watchful” speech. There, Adnani stated, “We will conquer your Rome, break your crosses, and
enslave your women, by the permission of Allah, the exalted.”

55. | Onor about November 16, 2014, al-Furqan released “Although the Disbelievers
Dislike It,” a video depicting the decapitated head of American citizen Peter Edward Kassig.

56. On or about January 24, 2015, al-Furqan released a video of Japanese hostage
Kenji Goto holding a picture of Japanese citizen Haruna Yukawa’s decapitated body.

a7. On or about January 31, 2015, al-Furgan released a video (“A Message to the

Government of Japan”) depicting Emwazi beheading Japanese citizen Kenji Goto,

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58. On or about February, 7, 2015, the family of Kayla Jean Mueller received an
email from FTO fighters confirming her death in Syria. In the email, the FTO fighters attached
three photos of a deceased Kayla Jean Mueller.

59. On or about January 19, 2016, al-Hayat published a Dabig issue entitled “The
Rafidah from Ibn Saba to the Dajjal” that memorialized Emwazi (using his Islamic name “Abu
Muharib”), who was killed by the United States military ina November 12, 2015, airstrike
conducted in Syria. Dabig’s tribute to Emwazi acknowledged his death in the November 12,
2015, airstrike. The memorial also addressed his travel from the U.K. to “Sham” stating, “Abu
Maharib together with his companion in hijrah carefully and secretly made their departure,

utilizing every means available to him.” Emwazi’s companion was KOTEY.

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COUNT ONE
Conspiracy to Commit Hostage Taking, Resulting in Death (18 U.S.C. § 1203)

The General Allegations above are fully incorporated here by reference.

From in and around November 2012 and continuing to on or about February 7, 2015, the
defendants ALEXANDA AMON KOTEY and EL SHAFEE ELSHEIKH, who are Specially
Designated Global Terrorists and who will be first brought to and found in the Eastern District of
Virginia, along with Mohamed Emwazi and others known and unknown to the Grand Jury did
conspire to seize, detain and threaten to kill, injure and continue to detain nationals of the United
States of America traveling outside the United States, including:

(a) James Wright Foley, whose death resulted from this offense;

(b) Kayla Jean Mueller, whose death resulted from this offense;

(c) Steven Joel Sotloff, whose death resulted from this offense; and

(d) Peter Edward Kassig, whose death resulted from this offense;
each in order to compel a third person and a governmental organization, including, but not
limited to, the United States of America and any part of its government, to pay a monetary
ransom for the release of that U.S. national and to do and abstain from doing any act as an
explicit or implicit condition for the release of that person.

(In violation of Title 18, United States Code, Section 1203.)

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COUNT Two
Hostage Taking Resulting in Death — James Wright Foley (18 U.S.C. §§ 1203 and 2)
THE GRAND JURY FURTHER CHARGES THAT:

The General Allegations above are fully incorporated here by reference.

From on or about November 22, 2012 to on or about August 19, 2014, the defendants
ALEXANDA AMON KOTEY and EL SHAFEE ELSHEIKH, who will be first brought to and
found in the Eastern District of Virginia; Mohamed Emwazi; and others known and unknown to
the Grand Jury, all aided and abetted by each other, did seize, detain and threaten to kill, injure
and continue to detain James Wright Foley, a national of the United States of America traveling
outside the United States, in order to compel James Wright Foley’s parents and a governmental
organization, including, but not limited to, the United States of America and any part of its
government, to pay a monetary ransom for the release of James Wright Foley and to do and
abstain from doing any act as an explicit or implicit condition for the release of James Wright
Foley. James Wright Foley’s death resulted from the commission of this offense.

(In violation of Title 18, United States Code, Sections 1203 and 2.)

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COUNT THREE
Hostage Taking Resulting in Death — Kayla Jean Mueller (18 U.S.C. §§ 1203 and 2)
THE GRAND JURY FURTHER CHARGES THAT:

The General Allegations above are fully incorporated here by reference.

From on or about August 4, 2013 to on or about February 7, 2015, the defendants
ALEXANDA AMON KOTEY and EL SHAFEE ELSHEIKH, who will be first brought to and
found in the Eastern District of Virginia; Mohamed Emwazi; and others known and unknown to
the Grand Jury, all aided and abetted by each other, did seize, detain and threaten to kill, injure
and continue to detain Kayla Jean Mueller, a national of the United States of America traveling
outside the United States, in order to compel Kayla Jean Mueller’s parents and a governmental
organization, including, but not limited to, the United States of America and any part of its
government, to pay a monetary ransom for the release of Kayla Jean Mueller and to do and
abstain from doing any act as an explicit or implicit condition for the release of Kayla Jean
Mueller. Kayla Jean Mueller’s death resulted from the commission of this offense.

(In violation of Title 18, United States Code, Sections 1203 and 2.)

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COUNT FOUR

Hostage Taking Resulting in Death — Steven Joel Sotloff (18 U.S.C. §§ 1203 and 2)
THE GRAND JURY FURTHER CHARGES THAT:

The General Allegations above are fully incorporated here by reference.

From on or about August 4, 2013 to on or about September 2, 2014, the defendants
ALEXANDA AMON KOTEY and EL SHAFEE ELSHEIKH, who will be first brought to and
found in the Eastern District of Virginia; Mohamed Emwazi; and others known and unknown to
the Grand Jury, all aided and abetted by each other, did seize, detain and threaten to kill, injure
and continue to detain Steven Joel Sotloff, a national of the United States of America traveling
outside the United States, in order to compel Steven Joel Sotloff’s parents and a governmental
organization, including, but not limited to, the United States of America and any part of its
government, to pay a monetary ransom for the release of Steven Joel Sotloff and to do and
abstain from doing any act as an explicit or implicit condition for the release of Steven Joel
Sotloff. Steven Joel Sotloff's death resulted from the commission of this offense.

(In violation of Title 18, United States Code, Sections 1203 and 2.)

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COUNT FIVE
Hostage Taking Resulting in Death — Peter Edward Kassig (18 U.S.C. §§ 1203 and 2)
THE GRAND JURY FURTHER CHARGES THAT:

The General Allegations above are fully incorporated here by reference.

From on or about October 2, 2013 to on or about November 16, 2014, the defendants
ALEXANDA AMON KOTEY and EL SHAFEE ELSHEIKH, who will be first brought to and
found in the Eastern District of Virginia; Mohamed Emwazi; and sities known and unknown to
the Grand Jury, all aided and abetted by each other, did seize, detain and threaten to kill, injure
and continue to detain Peter Edward Kassig, a national of the United States of America traveling
outside the United States, in order to compel Peter Edward Kassig’s parents and a governmental
organization, including, but not limited to, the United States of America and any part of its
government, to pay a monetary ransom for the release of Peter Edward Kassig and to do and
abstain from doing any act as an explicit or implicit condition for the release of Peter Edward
Kassig. Peter Edward Kassig’s death resulted from the commission of this offense.

(In violation of Title 18, United States Code, Sections 1203 and 2.)

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COUNT SIX

Conspiracy to Murder United States Citizens
Outside of the United States (18 U.S.C. § 2332(b)(2))

THE GRAND JURY FURTHER CHARGES THAT:

The General Allegations above are fully incorporated here by reference.

From in and around November 2012 and continuing to on or about February 7, 2015, the
defendants ALEXANDA AMON KOTEY and EL SHAFEE ELSHEIKH, who will be first
brought to and found in the Eastern District of Virginia; Mohamed Emwazi; and others known
and unknown to the Grand Jury did conspire to commit murder, as defined by Title 18, United
States Code, Section 1111(a), by unlawfully killing James Wright Foley, Kayla Jean Mueller,
Steven Joel Sotloff, and Peter Edward Kassig, nationals of the United States, while these
nationals were outside of the United States, each killing being willful, deliberate, malicious, and
premeditated, and with malice aforethought.

(In violation of Title 18, United States Code, Section 2332(b)(2).)

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COUNT SEVEN

Conspiracy to Provide Material Support or Resources to Terrorists —
Hostage Taking and Murder — Resulting in Death (18 U.S.C. § 2339A)

THE GRAND JURY FURTHER CHARGES THAT:

The General Allegations above are fully incorporated here by reference.

From in and around November 2012 and continuing to on or about February 7, 2015, the
defendants ALEXANDA AMON KOTEY and EL SHAFEE ELSHEIKH, who will be first
brought to and found in the Eastern District of Virginia; Mohamed Emwazi; and others known
and unknown to the Grand Jury did conspire to provide “material support or resources,” as that
term is defined by Title 18, United States Code, Section 2339A, namely, personnel (including
themselves) and services, knowing and intending that they were to be used in preparation for and
in carrying out a violation of Title 18, United States Code, Section 1203 (hostage taking) and
Title 18, United States Code, Section 2332(a)(1) (murder). The deaths of James Wright Foley,
Kayla Jean Mueller, Steven Joel Sotloff, and Peter Edward Kassig, each a citizen of the United
States, as well as the deaths of British and Japanese nationals, resulted from the commission of
this offense.

(In violation of Title 18, United States Code, Section 2339A.)
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COUNT EIGHT

Conspiracy to Provide Material Support or Resources to a Designated
Foreign Terrorist Organization, Resulting in Death (18 U.S.C. § 2339B)

THE GRAND JURY FURTHER CHARGES THAT:

The General Allegations above are fully incorporated here by reference.

From in or about 2012, and continuing thereafter up to and including in or about January
2018, in offenses committed outside of the jurisdiction of any particular State or district of the
United States, the defendants ALEXANDA AMON KOTEY and EL SHAFEE ELSHEIKH, who
will be first brought to and found in the Eastern District of Virginia; Mohamed Emwazi; and
others known and unknown to the Grand Jury did conspire to provide “material support or
resources,” as that term is defined in Title 18, United States Code, Section 2339A(b), namely,
personnel (including themselves) and services, to a foreign terrorist organization—namely, ISIS,
which at all relevant times was designated by the United States Secretary of State as a foreign
terrorist organization pursuant to Section 219 of the Immigration and Nationality Act—knowing
that ISIS was a designated foreign terrorist organization, that ISIS engages and has engaged in
terrorist activity, and that ISIS engages and has engaged in terrorism. The deaths of James
Wright Foley, Kayla Jean Mueller, Steven Joel Sotloff, Peter Edward Kassig, each a citizen of
the United States, as well as the deaths of British and Japanese nationals, resulted from the
commission of this offense.

(In violation of Title 18, United Sates Code, Section 2339B.)
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A TRUE BILL:

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PORRPERSON OF THE GRAND JURY

G. Zachary Terwilliger
United States Attorney

By: air A L palthee

Dennis M. Fitzpatrick
Assistant United Statés Attorney

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Raj Parekh
First Assistant United States Attorney

Jat T. Gibbs
ssistant United States Attorney
Aidan Taft ft YY

Assistant United States Attorney

 

 

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